      Case 3:17-cv-00202 Document 46 Filed in TXSD on 09/25/17 Page 1 of 1
                                                                           United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                              September 25, 2017
                         UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION
MICHAEL PELTIER, et al,                      §
                                             §
        Plaintiffs,                          §
VS.                                          § CIVIL ACTION NO. 3:17-CV-202
                                             §
STGJ ENTERPRISES, LLC; dba SMI               §
AGENCY, et al,                               §
                                             §
        Defendants.                          §
                                         ORDER

       Before the Court is the parties’ Joint Motion to Stay Motions and Reset Rule 16

Conference. Dkt. 44. Having considered the Motion, the Court determines that the

Motion bears merit and should be GRANTED.

       It is therefore ORDERED that submission of the pending motions, specifically,

Dkt. 22, Dkt. 28, Dkt. 29, Dkt. 31, Dkt. 40, and Dkt. 41, including any deadline to

respond or reply, be and hereby is extended to and including December 5, 2017.

       It is further ORDERED that the initial pretrial and scheduling conference

currently set for October 3, 2017 is hereby reset to January 10, 2018 at 9:30 AM.

       It is further ORDERED that the parties shall, within seven (7) days following the

completion of mediation, but not later than December 5, 2017, jointly notify the Court

regarding the status of mediation and whether the case has settled.

       SIGNED at Galveston, Texas, this 25th day of September, 2017.


                                             ___________________________________
                                             George C. Hanks Jr.
                                             United States District Judge


1/1
